
28 So.3d 995 (2010)
STATE of Louisiana
v.
Michael ANDERSON.
No. 2010-KD-0464.
Supreme Court of Louisiana.
March 2, 2010.
*996 Writ granted. The ruling of the trial court denying the State's motion to quash the subpoenas directed to the assistant district attorneys is reversed. The State has stipulated that the prior interview with the witness was known to the District Attorney's Office. Under the circumstances, the good or bad faith, or knowledge or lack of knowledge, of any particular assistant district attorney is irrelevant for the purposes of granting or denying a new trial.
JOHNSON, J., would deny the writ.
WEIMER, J., would deny the writ.
